









lee, elmer edward v. state                                          









&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; NO. 12-07-00179-CR

NO. 12-07-00180-CR

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IN THE COURT OF APPEALS

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TWELFTH COURT OF APPEALS
DISTRICT

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TYLER, TEXAS

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CARLOS
JUAN SOSA, II.,&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPEAL FROM THE 173RD

APPELLANT

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V.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; JUDICIAL
DISTRICT COURT OF

&nbsp;

THE
STATE OF TEXAS,

APPELLEE&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; HENDERSON
COUNTY, TEXAS

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MEMORANDUM OPINION

PER
CURIAM

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; These appeals are being dismissed for want of
jurisdiction.&nbsp; Appellant was convicted of
two counts of aggravated sexual assault of a child.&nbsp; Sentence was imposed in each case on August
28, 2006.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Texas Rule of Appellate Procedure 26.2 provides that an
appeal is perfected when notice of appeal is filed within thirty days after the
day sentence is imposed or suspended in open court unless a motion for new
trial is timely filed.&nbsp; Where a timely
motion for new trial has been filed, notice of appeal shall be filed within
ninety days after the sentence is imposed or suspended in open court.&nbsp; Id.&nbsp; Appellant did not file a motion for new
trial.&nbsp; Therefore, his notice of appeal
was due to have been filed on or before September 27, 2006.&nbsp; However, Appellant did not file his notice of
appeal until May 7, 2007 and did not file a motion for extension of time to
file his notice of appeal as permitted by Texas Rule of Appellate Procedure
26.3.








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On May 9, 2007, this court notified Appellant, pursuant
to Rules 26.2 and 37.2, that the clerk’s record did not show the jurisdiction
of this court, and it gave him until May 21, 2007 to correct the defect.&nbsp; The deadline has now passed, and Appellant
did not furnish information showing the jurisdiction of this court or otherwise
respond to this court’s notice.&nbsp; &nbsp;&nbsp;&nbsp;&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Because this court has no authority to allow the late
filing of a notice of appeal except as provided by Rule 26.3, the appeals must
be dismissed.&nbsp; See Slaton v. State,
981 S.W.2d 208, 210 (Tex. Crim. App. 1998).&nbsp;
Accordingly, the appeals are dismissed for want of jurisdiction.&nbsp; 

Opinion
delivered May 23, 2007.

Panel consisted
of Worthen, C.J., Griffith, J., and Hoyle, J.

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(DO NOT PUBLISH)





